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                                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

               UNITED STATES                                         NO. 2:20-cr-00045-GAM

                                                                     JUDGE MCHUGH

                                       v.

               ABDUR RAHIM ISLAM
               SHAHIED DAWAN
               KENYATTA JOHNSON
               DAWN CHAVOUS

                                               Defendants

                                                DEFENDANT KENYATTA JOHNSON’S
                                            SUPPLEMENTAL REQUEST FOR INFORMATION
                                                        ON VOIR DIRE

                         TO THE HONORABLE GERALD A. McHUGH, JUDGE OF THE SAID COURT:

                         Defendant Kenyatta Johnson, by and through his attorneys, Fox Rothschild LLP,

             respectfully requests the Court to obtain the following information from the jury panel on Voir

             Dire, as to the jurors, their relatives and close friends in addition to the questions provided by the

             Court to counsel:

                         1.           Have you had any training or work experience in any of the following:

                                      a.      Politics or government
                                      b.      Consulting
                                      c.      Education or schooling
                                      d.      Property development
                                      e.      Real estate investment
                                      f.      Non-profit organizations
                                      g.      Media or news
                                      h.      Judicial system
                                      i.      Law enforcement

                         2.           Have you or someone close to you ever declared bankruptcy or otherwise
                                      participated in bankruptcy proceedings?

                         3.           Do you believe the federal government should be more aggressive in prosecuting
                                      political corruption?


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                         4.           Do you believe Charter schools tend to waste taxpayer dollars?

                         5.           Do you believe the charter school industry suffers from corruption?

                         6.           Do you agree with any of the following statements:

                                      a.   Politicians from Philadelphia tend to be dishonest or unethical.
                                      b.   Most politicians tend to be dishonest or unethical.
                                      c.   I tend not to trust politicians.
                                      d.   Property developers tend to be dishonest or unethical.
                                      e.   Consultants tend to be dishonest or unethical.
                                      f.   I consider myself to be sophisticated and knowledgeable about politics and
                                           government.
                                      g.   It is better for married women to be homemakers than to work outside of the
                                           home.
                                      h.   Women have an unfair advantage in the job market.
                                      i.   Work performed by women tends to be undervalued relative to the same work
                                           performed by men.
                                      j.   African-Americans and other persons of color have an unfair advantage in the
                                           job market.
                                      k.   Muslims tend to be dishonest or unethical.
                                      l.   persons of African American heritage are more prone to commit crimes.

                         7.           How often do you read, listen to, or watch news coverage?

                         8.           Have you read or heard anything about the defendants in this case, Abdur Rahim
                                      Islam, Shahied Dawan, Kenyatta Johnson, and/or Dawn Chavous?

                         9.           Have you read or heard anything about any of the following:

                                      a.      Universal Community Homes
                                      b.      Universal Education Companies
                                      c.      Universal Real Estate Development Corporation
                                      d.      The Royal Theater in Philadelphia
                                      e.      The properties located at 1309-1313 Bainbridge Street in Philadelphia




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             Dated: March 10, 2022                    Respectfully submitted,


                                                      /s/ Patrick J. Egan
                                                      Patrick J. Egan
                                                      Nathan Huddell
                                                      Stephanie Ohnona
                                                      FOX ROTHSCHILD LLP
                                                      2000 Market Street, 20th Floor
                                                      Philadelphia, PA 19103-3222
                                                      Phone: (215) 299-2000
                                                      Fax: (215) 299-2150

                                                      Attorneys for Defendant Kenyatta Johnson




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                                                CERTIFICATE OF SERVICE

                         I, Patrick Egan, hereby certify that on this day, I caused the foregoing to be filed

             electronically with the Case Management/Electronic Case Filing System (“CM/ECF”) for the

             Federal Judiciary. Notice of this filing will be sent to all parties by operation of the Notice of

             Electronic Filing system, and the parties to this action may access this filing through CM/ECF.


             Dated: March 10, 2022                                /s/ Patrick J. Egan
                                                                  Patrick J. Egan




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